Case 2:19-cv-06737-AB-KK Document 49 Filed 10/15/20 Page 1 of 1 Page ID #:437




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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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10    ANTHONY M. WATSON,                         Case No. CV 19-6737-AB (KK)
11                              Plaintiff,
12                        v.                     JUDGMENT
13    DR. LAURA SPRAGUE, ET AL.,
14                              Defendant(s).
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17         Pursuant to the Order Accepting Findings and Recommendation of United
18   States Magistrate Judge,
19         IT IS HEREBY ADJUDGED that this action is dismissed with prejudice.
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21   Dated: October 15, 2020October 15, 2020
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                                             HONORABLE ANDRÉ BIROTTE, JR.
23                                           United States District Judge
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